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                    IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF NEW MEXICO

            DAVIDSON OIL COMPANY,



                            Plaintiff,

                 vs.                     NO: 1:20-CV-00838-RB/JHR

            CITY OF ALBUQUERQUE,

                            Defendant.



               VIDEOCONFERENCE DEPOSITION OF JENNIFER BRADLEY
                     December 22, 2021
                       1:34 p.m.

              PURSUANT TO THE FEDERAL RULES OF CIVIL
            PROCEDURE, this deposition was:


            TAKEN BY: ROSS L. CROWN
                Attorney for the Plaintiff




            REPORTED BY: Robin A. Brazil, RPR, NM CCR #154
                 Bean & Associates, Inc.
                 Professional Court Reporting Service
                 201 Third Street, Northwest, Suite 1630
                 Albuquerque, New Mexico 87102




            (6079N) RAB
                                                                                                                         Exhibit 4

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                                                                                                                     19 (Pages 70 to 73)
                                                                 70                                                                 72
    1      uncertainty in the City's total use or need for oil.            1           Q. And the City ended up not accepting any of
    2      Do you see that reference?                                      2       those three proposals; is that right?
    3         A. Yes.                                                      3           A. I don't believe they did.
    4         Q. Now, the contract, I think, as we've                      4           Q. Do you know why not?
    5      already discussed, didn't require the City to                   5           A. No, I don't.
    6      purchase any particular quantity of fuel from a                 6           Q. Let me -- I'm just going through my notes
    7      vendor, right?                                                  7       here. I think I've covered a lot, so give me a
    8         A. Correct.                                                  8       moment here.
    9         Q. So if the City's need for oil plummeted as                9              When the City entered into the fixed-price
   10      a result of the pandemic, it still -- the City still           10       contract with Davidson Oil in January of 2020, is it
   11      had the right to purchase as little fuel oil as it             11       fair to say that the City recognized that depending
   12      needed; is that correct?                                       12       on what happened in the oil market, the City may end
   13         A. Correct.                                                 13       up paying Davidson more for fuel oil than the market
   14         Q. Let me ask you to skip ahead now to                      14       price?
   15      Interrogatory Number 12.                                       15           A. That's fair, yeah.
   16         A. Okay.                                                    16           Q. And the City was willing to do so?
   17         Q. And the last sentence of the answer to                   17           A. Yes. Well, I don't know if the City,
   18      Interrogatory Number 12 -- and this is referencing             18       who -- I mean, the -- City is a big word, so would
   19      negotiations -- it said the City made an effort with           19       budget be happy about it? Would admin be happy
   20      Davidson, and they would not work with us. Do you              20       about it? Departments having to do it be happy
   21      see that?                                                      21       about it? Purchasing be happy about it? That's a
   22         A. Yes.                                                     22       different answer for everybody, probably.
   23         Q. Is that a true statement, that Davidson                  23           Q. Well, who speaks for the City with regard
   24      wouldn't work with you on pricing?                             24       to this case?
   25         A. I'm thinking that goes back to the email                 25           A. There's probably different parts of it

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    1       that Iris asked them to decrease their prices, and             1       that different parts of the City would speak to. I
    2       they said no.                                                  2       can tell you about procurement. I can't tell you
    3           Q. You're aware that Davidson did offer some               3       about all the investment information and all that,
    4       alternative pricing arrangements later on after the            4       you know, decisions that were made or anything like
    5       termination for convenience; is that correct?                  5       that, but you mean the outcome of this case? I
    6           A. I believe I was in that meeting with City               6       would think that would be City legal if there was
    7       legal and everybody.                                           7       decisions.
    8           Q. So your answer to my question is yes?                   8          Q. Who does Mr. Bhatka report to?
    9           A. Yes. Yes.                                               9          A. That is directly to the mayor.
   10           Q. In fact, let me -- do you have the City's              10          Q. Okay. He does not go through the -- is
   11       deposition exhibits available to you?                         11       there a chief operating officer or chief
   12           A. Yes.                                                   12       administrative officer?
   13           Q. Can you look at Deposition Exhibit 6 of                13          A. So the executive team is the COO, the
   14       the City's exhibits?                                          14       chief operating officer, chief financial officer,
   15           A. Okay.                                                  15       and the chief executive officer. That's the
   16           Q. And you'll see this is an email from me,               16       executive team that report to the mayor, and all the
   17       and it's to John DuBois, although it doesn't say              17       departments report to them.
   18       that on the face of it, but it's in the response.             18          Q. Okay. So the only person in the City
   19       Do you see that?                                              19       hierarchy that outranks Mr. Bhatka would be the
   20           A. Okay.                                                  20       mayor; is that correct?
   21           Q. You see that the email references that                 21          A. Correct.
   22       Davidson Oil is willing to agree to one of the                22          Q. When the City entered into the fixed-price
   23       following proposals for pricing fuel oil. Do you              23       contract with Davidson Oil, did you yourself have a
   24       see that?                                                     24       particular reaction to that contract?
   25           A. Yes.                                                   25          A. Nope.


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